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                 Exhibit
                           2
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URL                  https://paratex.com/wp-content/uploads/2020/06/seattle-shipyards.jpg
Date captured        January 12th 2021, 3:36:30PM
Last updated         January 12th 2021, 3:36:30PM
Hash                 4e30be1718f3ba636d80b385f60a36f07b3d9408528f295451e89c5093654d26
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URL                  https://paratex.com/what-we-do/fumigation/
Date captured        January 12th 2021, 3:36:21PM
Last updated         January 12th 2021, 3:36:21PM
Hash                 d0a42d95ce8b31af01537396c68339ee0acdad278397784ed49e774ebbed705c
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                                                                     800-542-1234    Login


                                   Home        What We Do           About      Contact




                       Fumigation
The fumigation division of Paratex was started as a ship supply business on the
Seattle waterfront in 1908. The company was soon called to place sulfur pots in the
holds of ships to eliminate residual rat populations from foreign ports.

Fumigation is the use of a gas instead of a liquid or dust pesticide. It is much more
effective in eliminating the egg and larva stage of insects and it also has the
advantage of not leaving a residual pesticide. Paratex is one of the few companies in
the Northwest with the licenses, insurance and experience to perform fumigations. We
also have the only sealed fumigation chamber available to the public in our area.


   Paratex is one of the few companies in the Northwest with the
   licenses, insurance, and experience to perform fumigations.

Our facility is used for WA state Dept. of Agriculture [USDA] import and export
requirements of goods to foreign countries. It is available to the general public for the
fumigation of items such as carpets, clothing, furniture and antiques with moths,
beetles or other pest infestations.
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                     Our vacuum chamber is 24 ft long and 9 1/2 ft in diameter




We have decades of experience working with the USDA and various foreign
governments to meet import/export requirements. We can also assist you with
drayage to and from the various piers and transloading when required. We will help
you find the most cost-effective and timely process to meet requirements.

For information on scheduling fumigations off-site or at Paratex contact Raffy
Sanchez, our Fumigation coordinator at 800-542-1234 or email
rsanchez@paratex.com .
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We have years of experience working with USDA, Washington State Dept of Agriculture and various
                    foreign governments to meet import/export requirements




                 Call us to schedule an evaluation, or do it online!
                       If we can’t fix it we’ll tell you who can.

                               . 800-542-1234

                        Request an Evaluation Online
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